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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT ILLINOIS
                                     EASTERN DIVISION

UNITED STATES SECURITIES AND                    )
EXCHANGE COMMISION,                             )
                                                )
                          Plaintiff,            )            Case No. 1:10-CV-00115
           v.                                   )
                                                )            Hon. Robert M. Dow Jr.
STEVEN W. SALUTRIC,                             )
                                                )
                          Defendant.            )

                                       NOTICE OF MOTION

TO:     See attached Certificate of Service
        PLEASE TAKE NOTICE that, on Tuesday, October 24, 2017 at 9:15 a.m., or as soon
thereafter as counsel may be heard, the undersigned shall appear before the Honorable Robert M.
Dow Jr., United States District Court for the Northern District of Illinois, Eastern Division, or
such other judge as may be sitting in his place in Courtroom 1919, 219 S. Dearborn Street,
Chicago, Illinois 60604, and shall present the attached Application of Receiver for Payment of
Administrative Fees and Expenses for the Period August 1, 2010 through August 31, 2017,
copies of which are hereby served upon you.

Dated: October 13, 2017                             Respectfully submitted,

                                                    IRA BODENSTEIN, not individually, but
                                                    solely as Receiver of Steven W. Salutric

                                                    /s/ Ira Bodenstein________
                                                    One of his attorneys
Ira Bodenstein (#3126857)
Terence G. Banich (#6269359)
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                                  CERTIFICATE OF SERVICE

          Pursuant to Federal Rules of Civil Procedure 5(b)(2)(C) and 5(b)(3), I, Ira Bodenstein, an
  attorney, hereby certify that, on the 13th day of October, 2017, I caused a true and correct copy
  of the foregoing Application of Receiver for Payment of Administrative Fees and Expenses
  for the Period August 1, 2010 through August 31, 2017, to be served by (a) Electronic Case
  Filing upon counsel of record who are Filing Users of the Court’s Electronic Case Filing system
  and (b) the manners indicated upon:


                                                      /s/Ira Bodenstein

Via Electronic Mail and First Class Mail:
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